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JOAN E,. HEFFINGTON, Individually,
and on Behalf of Minor Son, G.H.,

Vv.

DERBY UNIFIED SCHOOL DISTRICT 260,

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

)

)

)

Plaintiffs, )
)

) Case No. 07-4095-SAC

)

)

)

Defendant. )

ANSWER TO COMPLAINT

COMES NOW the Defendant, Derby Unified School District 260 (Derby

USD 260), and, for its answer to the Complaint, admits, denies and asserts

affirmative defenses as follows:

1.

2.

All allegations not specifically admitted are denied.

Paragraphs 1 through 10 in Plaintiffs’ Complaint are all erroneously
labeled as paragraph 0; however, Defendant will assume these
paragraphs are correctly labeled in answering the Complaint.
Defendant admits the allegations in paragraphs 1, and 2.
Defendant admits that Defendant is a school district which may be
served at 120 E. Washington, Derby, Kansas 67037, but denies
each and every other allegation in paragraph 3.

Defendant admits paragraphs 4, 5, 6, and 7.

Defendant is without knowledge or information sufficient to form a
belief as to the truth of paragraph 8, and therefore denies the same.

Additionally, Defendant states that paragraph 8 is irrelevant.

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Defendant admits that it is a school district comprised of teachers
and administrators, but denies each and every other allegation in
paragraph 9.

Defendant admits paragraph 10.

Defendant is without knowledge or information sufficient to form a
belief as to the truth of paragraph 11, and therefore denies the
same. Additionally, Defendant states that paragraph 11 is
irrelevant.

Defendant is without knowledge or information sufficient to form a
belief as to the truth of paragraph 12.

Defendant admits that Plaintiff G.H. was diagnosed with Attention
Deficit Disorder, but is without knowledge or information sufficient
to form a belief as to the truth of each and every other allegation in
paragraph 13, and therefore denies the same.

Defendant is without knowledge or information sufficient to form a
belief as to the truth of paragraph 14, and therefore denies the
same.

Defendant admits paragraph 15.

Defendant is without knowledge or information sufficient to form a
belief as to the truth of paragraph 16, and therefore denies the
same.

Defendant admits that Plaintiff G.H. was placed on a Student

Individual Improvement Plan, but is without information or

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knowledge sufficient to form a belief as to the truth of each and
every other allegation contained in paragraph 17, and therefore
denies the same.

Defendant is without knowledge or information sufficient to form a
belief as to the truth of paragraphs 18, 19, 20, 21, 22, 23, 24, 25,
26, 27, and 28, and therefore denies the same.

Defendant admits that, in January 2004, Plaintiff G.H. was doing
well and had improved, but is without knowledge or information
sufficient to form a belief as to the truth of each and every other
allegation in paragraph 29, and therefore denies the same.
Defendant is without knowledge or information sufficient to form a
belief as to the truth of paragraphs 30, 31, 32, and 33, and
therefore denies the same.

Defendant admits that Plaintiff Joan Heffington submitted a letter
requesting that Plaintiff G.H. be evaluated for a 504 plan on or
about April 19, 2004, but denies each and every other allegation in
paragraph 34.

Defendant denies paragraph 35.

Defendant admits that it provided Plaintiff Joan Heffington a
document entitled “Derby USD 260, Written Consent, Section 504
Student and Parent Rights”, attached to Plaintiffs’ Complaint as

Exhibit 1, on or about April 22, 2004, but is without knowledge or

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information sufficient to form a belief as to the truth of each and
every other allegation in paragraph 36.

Defendant is without knowledge or information sufficient to form a
belief as to the truth of paragraphs 37, 38, 39, 40, 41, 42, 43, 44,
and 45, and therefore denies the same.

Defendant is without knowledge or information sufficient to form a
belief as to the truth of paragraphs 46 and 47, and therefore denies
the same. Additionally, Defendant states that paragraphs 46 and
47 are irrelevant.

Defendant admits that a 504 meeting was held on August 19, 2004
(not August 18, 2004, as stated in Plaintiffs’ Complaint), and it was
determined that Plaintiff G.H. did not qualify for a 504 plan, but
denies each and every other allegation in paragraph 48.

Defendant denies paragraphs 49 and 50.

Defendant admits that Plaintiff Joan Heffington indicated she may
file a lawsuit in this matter, but denies each and every other
allegation in paragraph 51.

Defendant admits that Plaintiff G.H. was placed on a 504 plan in
January 2005, but is without knowledge or information sufficient to
form a belief as to each and every other allegation in paragraph 52,

and therefore denies the same.
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28. Defendant is without knowledge or information sufficient to form a
belief as to the truth of paragraph 53, and therefore denies the
same.

29. Defendant admits that Plaintiff G.H. entered the fifth grade in
August 2005, but denies each and every other allegation in
paragraph 54.

30. Defendant admits that Plaintiff Joan Heffington met with Defendant
to discuss Plaintiff G.H.’s 504 plan on December 6, 2005, but
denies each and every other allegation in paragraph 55.

31. Defendant admits that no changes were made to Plaintiff G.H.’s
504 plan at the meeting on December 6, 2005, but denies each and
every other allegation in paragraph 56.

32. Defendant denies paragraph 57.

33. Defendant denies paragraphs 58 and 59. Additionally, Defendant
states that paragraphs 58 and 59 are irrelevant.

34. Defendant is without knowledge or information sufficient to form a
belief as to the truth of the allegations in paragraphs 60, 61, and 62,
and therefore denies the same.

35. Defendant admits paragraph 63.

36. Defendant is without knowledge or information sufficient to form a
belief as to the truth of the allegations in paragraph 64, and

therefore denies the same.
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of.

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Defendant is without knowledge or information sufficient to form a
belief as to the truth of the allegations in paragraph 65, and
therefore denies the same. Additionally, Defendant states that
paragraph 65 is irrelevant.

Defendant admits that Plaintiff Joan Heffington sent emails and
other correspondence to Defendant, and that Plaintiff Joan
Heffington filed a complaint with the Office of Civil Rights, but
denies each and every other allegation in paragraph 66.
Defendant admits paragraph 67.

Defendant is without knowledge or information sufficient to form a
belief as to the truth of the allegations in paragraph 68, and
therefore denies the same.

Defendant admits that it investigated Plaintiff Joan Heffington’s
grievance filed on October 15, 2006, and determined that Plaintiff
G.H.’s 504 plan should not change, but denies each and every
other allegation in paragraph 69.

Defendant denies paragraph 70.

Defendant denies paragraphs 71 and 72. Additionally, Defendant
states that paragraphs 71 and 72 are irrelevant.

Defendant denies paragraph 73.

Defendant admits that the complaint filed by Plaintiff Joan
Heffington with the Office of Civil Rights was dismissed for lack of

probable cause, but is without knowledge or information sufficient
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to form a belief about the date it was dismissed, and therefore
denies each and every other allegation in paragraph 74.
Defendant is without knowledge or information sufficient to form a
belief as to the truth of the allegations in paragraph 75, and
therefore denies the same.

Defendant denies paragraph 76.

Defendant denies paragraph 77. Additionally, Defendant states
that paragraph 77 is irrelevant.

Defendant is without knowledge or information sufficient to form a
belief as to the truth of the allegation in paragraph 78 that Plaintiff
G.H. told Plaintiff Joan Heffington that he hated school, and
therefore denies the same, and Defendant denies each and every
other allegation in paragraph 78. Additionally, Defendant states
that paragraph 78 is irrelevant.

Defendant denies paragraphs 79, 80, 81, and 82. Additionally,
Defendant states that paragraphs 79, 80, 81, and 82 are irrelevant.
Defendant is without knowledge or information sufficient to form a
belief as to the truth of the allegations in paragraphs 83, 84, and 85,
and therefore denies the same.

Defendant denies paragraph 86 and 87.

Defendant denies paragraph 88. Additionally, Defendant states
that paragraph 88 is irrelevant.

Defendant denies paragraphs 89 and 90.
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Defendant denies paragraph 91. Additionally, Defendant states
that paragraph 91 is irrelevant.

Defendant denies paragraph 92.

Defendant denies paragraph E, labeled “Law and Analysis”, after
paragraph 92 and before paragraph 93.

Defendant denies paragraphs 93, 94, 95, 96, 97, 98, 99, 100, 101,

102, 103, 104, 105, and 106.

For its affirmative defenses to the Complaint, Defendant asserts the

following:

59.

a. Plaintiff Joan Heffington lacks standing to bring any claims in
her name individually under § 504 of the Rehabilitation Act of 1973,
29 U.S.C. § 794, because the claim for relief rests on the legal
rights of Plaintiff G.H.

b. This Court lacks subject matter jurisdiction because Plaintiff
G.H. has failed to exhaust administrative remedies as required
under 20 U.S.C.A. § 1415(/).

c. Plaintiffs have failed to establish a prima facie case that
Defendant has violated § 504 of the Rehabilitation Act of 1973, 29
U.S.C. § 794, because Plaintiffs have failed to show that Plaintiff
G.H. was denied any benefits by Defendant by reason of Plaintiff

G.H.’s disability.
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d. Plaintiffs have failed to establish a claim that they are
entitled to compensatory damages under § 504 of the
Rehabilitation Act of 1973, 29 U.S.C. § 794.

é, Plaintiffs have failed to state a claim upon which relief can be
granted under § 504 of the Rehabilitation Act of 1973, 29 U.S.C. §
794.

f. Some or all of Plaintiffs’ claims are barred by the statute of
limitations, or by the doctrine of laches.

g. Defendant reserves the right to raise additional affirmative
defenses made known during discovery.

WHEREFORE, Defendant prays that Plaintiff take nothing by reason of
the Complaint, that it be awarded its costs in the action, and for such other and
further relief as the Court deems just.

Respectfully submitted,
FAIRCHILD & BUCK, P.A.
si Mark A. Buck

Mark A. Buck, KS #9914
Attorney for Defendant

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CERFIFICATE OF SERVICE

| hereby certify that on the 7" day of February, 2008, | electronically filed
the above pleading with the Clerk of the Court by using the CM/ECF system
which will send a notice of electronic filing to the following: Joan Heffington and
all other counsel of record.

/s/ Mark A, Buck
Mark A. Buck #9914

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